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                             15                               UNITED STATES BANKRUPTCY COURT
                             16                               NORTHERN DISTRICT OF CALIFORNIA
                                                                     SAN FRANCISCO DIVISION
                             17

                             18                                              Bankruptcy Case No. 19-30088 (DM)
                             19    In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             20    PG&E CORPORATION,                         NOTICE OF HEARING ON SHORTENED
                                                                             NOTICE ON MOTION FOR ENTRY OF
                             21             - and -                          PROTECTIVE ORDER PURSUANT TO FED. R.
                                                                             BANKR. P. 7026 AND 9014(c) AND 11 U.S.C.
                             22    PACIFIC GAS AND ELECTRIC                  § 105(a) GOVERNING DISCOVERY
                                   COMPANY,                                  MATERIALS AND OTHER INFORMATION
                             23
                                                                  Debtors.   [Related to Dkt. No. 2459]
                             24
                                    Affects PG&E Corporation                Date: June 26, 2019
                             25     Affects Pacific Gas and Electric        Time: 9:30 a.m. (Pacific Time)
                                   Company                                   Place: United States Bankruptcy Court
                             26     Affects both Debtors                           Courtroom 17, 16th Floor
                                                                                    San Francisco, CA 94102
                             27    * All papers shall be filed in the Lead
                                   Case, No. 19-30088 (DM).                  Objection Deadline: June 19, 2019
                             28                                                                  4:00 p.m. (Pacific Time)


                              Case: 19-30088          Doc# 2468   Filed: 06/10/19   Entered: 06/10/19 16:12:05    Page 1 of
                                                                              2
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     June 26, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 7
            PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
 8
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion for Entry of Protective
 9   Order Pursuant to Fed. R. Bankr. P. 7026 and 9014(c) and 11 U.S.C. § 105(a) Governing Discovery
     Materials and Other Information, filed by the Debtors on June 7, 2019 [Dkt. No. 2459] (the
10   “Motion”).
11           PLEASE TAKE FURTHER NOTICE that, pursuant to an order shortening notice entered
     on June 10, 2019 [Dkt. No. 2464], any oppositions or responses to the Motion must be in writing,
12
     filed with the Bankruptcy Court, and served on the counsel for the Debtors at the above-referenced
13   addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on June 19, 2019. Any
     oppositions or responses must be filed and served on all “Standard Parties” as defined in, and in
14   accordance with, the Second Amended Order Implementing Certain Notice and Case Management
     Procedures entered on May 14, 2019 [Dkt No. 1996] (“Case Management Order”). Any relief
15   requested in the Motion may be granted without a hearing if no opposition is timely filed and
16   served in accordance with the Case Management Order. In deciding the Motion, the Court may
     consider any other document filed in these Chapter 11 Cases and related Adversary Proceedings.
17
              PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
18   can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
     (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
19   94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
20
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
21   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.

22   Dated: June 10, 2019
                                            WEIL, GOTSHAL & MANGES LLP
23                                          KELLER & BENVENUTTI LLP

24                                           /s/ Thomas B. Rupp
                                             Thomas B. Rupp
25
                                             Attorneys for Debtors and Debtors in Possession
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